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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA

BLUE CROSS BLUE SHIELD
HEALTHCARE PLAN OF GEORGIA,
INC.,

             Plaintiff,                    Case No:

       v.                                           COMPLAINT
                                               DEMAND FOR JURY TRIAL
HALOMD, INC., HOSPITALIST
MEDICINE PHYSICIANS OF
GEORGIA – TCG, PC, HOSPITALIST
MEDICINE PHYSICIANS OF
GEORGIA – TCS, PC, AND SOUND
PHYSICIANS EMERGENCY
MEDICINE OF GEORGIA, P.C.,

             Defendants.


      Plaintiff Blue Cross Blue Shield Healthcare Plan of Georgia, Inc.

(“BCBSGA”) submits the following Complaint against HaloMD, Inc.

(“HaloMD”), and Hospitalist Medicine Physicians of Georgia – TCG, PC,

Hospitalist Medicine Physicians of Georgia – TCS, PC, and Sound Physicians

Emergency Medicine of Georgia, P.C. (collectively, the “Provider Defendants,”

and together with HaloMD, the “Defendants”):

                              INTRODUCTION

      1.    BCBSGA brings this action against the Provider Defendants and

their third-party biller, HaloMD, for conspiring and executing a scheme to steal

millions of dollars from BCBSGA, employer plan sponsors, and other Blue Cross

and Blue Shield companies by flooding the federal No Surprises Act’s (“NSA”)
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independent dispute resolution (“IDR”) process with thousands of knowingly

ineligible disputes against BCBSGA.

      2.     Defendants’ coordinated scheme involved (1) using the interstate

wires to submit knowingly false attestations of eligibility for services and disputes

that they know are ineligible for the IDR process, (2) strategically initiating

massive volumes of IDR disputes simultaneously against BCBSGA, and (3)

improperly maximizing payments on ineligible disputes with outrageous payment

offers that far exceed what the Provider Defendants could have received from

patients or health plans in a competitive market and sometimes even exceed the

Provider Defendants’ billed charges.

      3.     Through this scheme, Defendants procured improper payments from

BCBSGA on thousands of disputes. Indeed, nearly 70% of disputes on which

Defendants received an IDR payment determination were clearly ineligible for

the process. Since 2024, Defendants’ scheme has caused millions of dollars in

damages, and it continues to harm BCBSGA, employer plan sponsors, and other

managed care companies.

      4.     Defendants are guilty of violating the federal Racketeering

Influenced and Corrupt Organizations (“RICO”) Act, the Georgia RICO statute,

the Georgia Deceptive Trade Practices Act, and the Employee Retirement Income

Security Act (“ERISA”), and have committed fraud and theft by deception,

among other things. BCBSGA brings this action to recover damages, vacate

improperly obtained arbitration awards, enjoin further improper conduct, obtain


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other equitable relief, and protect the integrity of ERISA-governed health benefit

plans.

                                THE PARTIES

         5.   BCBSGA is a Georgia corporation with its principal place of

business in Atlanta, Georgia. BCBSGA is licensed as a Health Maintenance

Organization in Georgia.

         6.   Defendant HaloMD, Inc. is a corporation organized under the laws

of Delaware, with its principal place of business in San Antonio, Texas. HaloMD

solicits and represents physician practices throughout the United States, including

in Georgia.

         7.   Defendant Hospitalist Medicine Physicians of Georgia – TCG, PC,

is a Georgia Professional Corporation. Its principal place of business is 120

Brentwood Commons Way, Suite 510, in Brentwood, Tennessee. Anthony

Briningstool is its Chief Executive Officer, Chief Financial Officer, and

Secretary.

         8.   Defendant Hospitalist Medicine Physicians of Georgia – TCS, PC

(together with Hospitalist Medicine Physicians of Georgia – TCG, PC, “HMP”),

is a Georgia Professional Corporation. Like Defendant Hospitalist Medicine

Physicians of Georgia – TCG, PC, its principal place of business is 120

Brentwood Commons Way, Suite 510, in Brentwood, Tennessee, and Anthony

Briningstool is its Chief Executive Officer, Chief Financial Officer, and

Secretary.


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      9.     Defendant Sound Physicians Emergency Medicine of Georgia, P.C.

(“SPEMG”), is a Georgia Professional Corporation. Like the other two Provider

Defendants, its principal place of business is 120 Brentwood Commons Way,

Suite 510, in Brentwood, Tennessee, and Anthony Briningstool is its Chief

Executive Officer, Chief Financial Officer, and Secretary.

      10.    Upon information and belief, the Provider Defendants are all

subsidiaries and/or corporate affiliates of Sound Physicians, which advertises

itself as a multi-specialty practice group with “over 4,000 physicians, advanced

practice providers, CRNAs, and nurses” that partners with more than 400

hospitals across the United States and manages approximately 6% of all acute

medical hospitalizations. See https://soundphysicians.com/about/why-sound/.

      11.    The Provider Defendants were all incorporated by persons located

at 1498 Pacific Ave., Suite 400, in Tacoma, Washington 98402, which is also

Sound Physicians’ corporate headquarters.

      12.    Lindsay Vaughan, Associate General Counsel of Sound Physicians,

served as the incorporator for Hospitalist Medicine Physicians of Georgia – TCG,

PC and Hospitalist Medicine Physicians of Georgia – TCS, PC, and has signed

annual registration forms filed with the Georgia Secretary of State for all three

Provider Defendants.

                        JURISDICTION AND VENUE

      13.    This Court has subject matter jurisdiction pursuant to 18 U.S.C. §

1964, which gives federal district courts jurisdiction over civil RICO actions. This


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     Court also has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331, as this

     action arises under federal law, including the No Surprises Act, 42 U.S.C. §

     300gg-111, and the Employee Retirement Income Security Act of 1974

     (“ERISA”), 29 U.S.C. § 1001 et seq. The Court also has supplemental jurisdiction

     over state law claims pursuant to 28 U.S.C. § 1367.

           14.    Venue is proper in this District under 28 U.S.C. § 1391 because a

     substantial part of the events or omissions giving rise to the claims occurred in

     this District and because BCBSGA is headquartered in this District and has

     suffered injury here.

                                    BACKGROUND

I.         BCBSGA Administers Healthcare Claims and IDR Proceedings for
           Members, Plan Sponsors, Government Programs, and BlueCard
           Plans.

           15.    BCBSGA offers a broad range of healthcare and related plans and

     services to its plan sponsors and its “members” who enroll in a BCBSGA plan,

     including fully insured and self-funded employee health benefit plans. BCBSGA

     processes tens of millions of healthcare claims annually and is responsible for

     ensuring that claims are paid accurately and in accordance with plan terms.

           16.    BCBSGA administers claims and benefits for several different types

     of healthcare plans relevant to this Complaint.

           17.    First, BCBSGA issues and administers fully insured plans, where

     BCBSGA is the ultimate insurer of the loss, collects premiums, and is financially

     responsible for any benefits paid out under the plan terms or pursuant to law.


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BCBSGA sells fully insured plans either directly to consumers, such as through

the federal Healthcare Exchange, or to small or large employer groups who offer

coverage to their employees but do not themselves insure the loss under the plan.

Fully insured plans are typically subject to state insurance regulation, such as state

laws prohibiting surprise billing and mandating payment amounts for certain out-

of-network claims.

      18.    Second, BCBSGA administers self-funded plans, typically offered

by large employers to their employees. These employers self-insure the plan and

are financially responsible for any payment of benefits or other losses. Because

employers often lack infrastructure to provide health insurance to their

consumers, these plans contract with BCBSGA to receive administrative services,

such as provider network development, customer service, and claims pricing and

adjudication. These plans often delegate authority to BCBSGA to administer the

IDR process on behalf of the plans, and the plans typically (though not always)

reimburse BCBSGA for any losses resulting from IDR. These plans are generally

exempt from state insurance laws, including state surprise billing regulation,

unless the plan chooses to opt into the state law. Instead, the plans are subject to

ERISA.

      19.    Third, BCBSGA administers government program claims, such as

through the Medicare Advantage program or Medicaid managed care.

Government program claims are exempt from NSA requirements and ineligible

for IDR.


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            20.    Fourth, pursuant to the BlueCard program, BCBSGA acts as a “Host

      Plan” to other independent Blue Cross and/or Blue Shield “Home Plans” whose

      members obtain treatment from providers in BCBSGA’s service area in Georgia.

      As Host Plan, BCBSGA manages and participates in IDR proceedings that are

      initiated by providers in Georgia for BlueCard plans whose members received

      treatment from the initiating Georgia provider.

            21.    While BCBSGA administers different types of health plans,

      providers generally know what type of health care coverage the patient has.

      Providers require proof of insurance at the point of service to submit claims to

      the health plan, and the member’s health insurance card identifies the nature of

      the member’s coverage. BCBSGA will also issue an explanation of payment

      (“EOP”) to the provider that typically provides coverage information for the

      member, among other information.

II.         Before the NSA, Out-of-Network Physicians like the Provider
            Defendants Exploited American Consumers with Surprise Medical
            Bills.

            22.    Health plans like BCBSGA contract with a network of health care

      providers, including hospitals and physicians, from whom their members may

      obtain “in-network” care. Generally, patients receive better and more affordable

      health care coverage when receiving treatment from these “in-network”

      providers, since they have a contract with their health plan that governs the rate

      for the relevant services and that prohibits them from billing patients above that

      amount. Patients can choose to obtain treatment from out-of-network providers,


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which have no contract with their health plan, but typically, the care from out-of-

network providers is more expensive.

      23.    In some situations—such as in cases of a medical emergency, when

the patient is seeking treatment at an in-network hospital, or air ambulance

transports—patients have limited ability to select an in-network provider. Before

passage of the NSA, certain out-of-network providers, such as emergency

medicine providers like the Provider Defendants, air ambulance providers,

critical care providers, pathology providers, intraoperative neuromonitoring

(“IONM”) providers, and radiology providers, capitalized on patients’ lack of

meaningful choice in these situations.

      24.    Prior to the enactment of the NSA, these types of out-of-network

providers widely engaged in the aggressive and financially devastating practice

of “surprise billing.” Specifically, the providers would exploit patients’ lack of

choice in selecting an in-network provider and bill the patient for the difference

between their “inflated,” “non-market-based rates”—known as “billed

charges”—and the amounts paid by health plans. H.R. Rep. No. 116-615 (2020),

at 53, 57.

      25.    Surprise billing was particularly rampant among privately funded

physician groups like the Provider Defendants. For instance, a company affiliated

with the Provider Defendants was publicly called out in the press for balance

billing patients who chose to visit an in-network hospital for emergency services

but received an unexpected and very large medical bill because the physician who


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provided their emergency care was out-of-network with their insurance. See C.

Nylander, N4T INVESTIGATORS: Sierra Vista patients claim they were

overbilled by physicians’ group, News4Tucson (Apr. 20, 2022), available at

https://www.kvoa.com/news/n4t-investigators-sierra-vista-patients-claim-they-

were-overbilled-by-physicians-group/article_e4321afc-c104-11ec-80f8-

ab2a3169ad18.html (last visited May 25, 2025).1

       26.     Surprise billing providers like the Provider Defendants held

“substantial market power” and “face[d] highly inelastic demands for their

services because patients lack the ability to meaningfully choose or refuse care.”

Thus, surprise billing providers like the Provider Defendants could “charge

amounts for their services that … result[ ] in compensation far above what is

needed to sustain their practice.” H.R. Rep. No. 116-615, at 53. Because surprise

billing providers like the Provider Defendants could reap massive profits by

issuing surprise medical bills to patients, they had little incentive to contract with

health plans like BCBSGA and offer more affordable health care services to

American consumers.

       27.     Congress recognized that this dynamic created a “market failure” for

surprise billing providers like the Provider Defendants. See H.R. Rep. No. 116-



       1
         Balance billing is not the only bad conduct in the Provider Defendants’ history—in
2013, the Department of Justice ordered another affiliate based in Washington to pay $14.5
million for overbilling Medicare and other federal healthcare programs. See Press Release, Bills
Claimed Higher Level of Service Than Was Documented, Dep’t of Justice (July 3, 2013),
available at https://www.justice.gov/archives/opa/pr/tacoma-wash-medical-firm-pay-145-
million-settle-overbilling-allegations (last visited May 25, 2025).


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       615, at 53, 57. And the “market failure” created by surprise billing providers was

       having “devastating financial impacts on Americans and their ability to afford

       needed health care.” H.R. Rep. No. 116-615, at 52. In an attempt to resolve these

       problems, Congress enacted the NSA.

III.         The No Surprises Act Curbed Abusive Surprise Billing Practices.

             28.    Congress enacted the NSA, effective January 1, 2022, “to protect

       consumers from surprise medical bills.” H.R. Rep. No. 116-615, at 47 (2020).

       The NSA protects consumers by banning certain out-of-network health care

       providers, including emergency services providers and facilities, providers of

       non-emergency services operating at in-network facilities, and air ambulance

       services, from engaging in surprise billing. See 42 U.S.C. §§ 300gg-131, 300gg-

       132, 300gg-135. To be subject to the NSA and IDR, healthcare services must

       follow into one of these three categories and meet other statutorily and regulatory

       requirements described below.

             29.    When enacting the NSA, Congress also found “that any surprise

       billing solution must comprehensively protect consumers by ‘taking the

       consumer out of the middle’ of surprise billing disputes.” H.R. Rep. No. 116-615,

       at 55. Thus, the NSA creates a separate framework outside the judicial process

       for health plans and providers to resolve specific types of eligible surprise billing

       disputes. See 42 U.S.C. § 300gg-111(c). The framework consists of (1) open

       negotiations, (2) an IDR process for “qualified IDR items and services,” and (3)




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if applicable, a binding payment determination from private parties called

certified IDR entities (“IDREs”) with limited judicial review.

      A.     Open Negotiations

      30.    As a prerequisite for participating in the IDR process, the initiating

party must first initiate and participate in “open negotiations” with the health plan.

42 U.S.C. § 300gg-111(c)(1)(B).

      31.    When a health plan receives a claim for out-of-network services

subject to the NSA (i.e., emergency services, services provided at an in-network

facility, or air ambulance services), the health plan will make an initial payment

or issue a notice of denial of payment within 30 days. See 42 U.S.C. § 300gg-

111(a)(1)(C)(iv)(I). The health plan’s EOP includes, among other information, a

phone number and email address for providers to seek further information or

initiate open negotiations. See 45 C.F.R. § 149.140(d)(2).

      32.    If the provider is dissatisfied with the initial payment, then the

provider or its designee may initiate open negotiations with the health plan by

providing formal written notice to the health plan within 30 business days of the

initial payment or notice of denial. 42 U.S.C. § 300gg-111(c)(1)(A). After

initiating open negotiations, the provider must attempt in good faith to negotiate

a resolution with the health plan over the 30-business-day open negotiations

period. See id.




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      B.     The IDR Process for Qualified IDR Items and Services

      33.    If the provider initiates and exhausts the 30-day open negotiations

period, and “the open negotiations … do not result in a determination of an

amount of payment for [the] item or service,” then the provider may initiate the

IDR process. 42 U.S.C. § 300gg-111(c)(1)(B); see 45 C.F.R. § 149.510(b)(2)(i).

The IDR process is only available to providers who first initiate and exhaust open

negotiations with the health plan. See id. Providers must initiate the IDR process

within 4 business days after the open negotiations period has been exhausted. See

id.

      34.    The IDR process is also only available for a “qualified IDR item or

service” eligible for the process. 42 U.S.C. § 300gg-111(c)(1); 45 C.F.R. §

149.510(a)(2)(xi), (b)(1), (b)(2). To be considered a qualified IDR item or service

within the scope of the IDR process, the following conditions must be met:

      a. The underlying services are within the NSA’s scope, meaning
         they are out-of-network emergency services, non-emergency
         services at participating facilities, or air ambulance services,
         and also of a coverage type subject to the NSA (e.g., not
         government programs like Medicare or Medicaid);

      b. A state surprise billing law (referred to as a “specified state
         law” in the NSA) does not apply to the dispute;

      c. The underlying services were covered by the patient’s health
         benefit plan (i.e., payment was not denied);

      d. The patient did not waive the NSA’s balance billing
         protections;

      e. The provider initiated and exhausted open negotiations;




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        f. The provider initiated the IDR process within 4 business days
           after the open negotiations period was exhausted; and

        g. The provider has not had a previous IDR determination on the
           same services and against the same payor in the previous 90
           calendar days.

42 U.S.C. § 300gg-111(c)(1)(B); 45 C.F.R. § 149.510(a)(2)(xi), (b)(2).

        35.   Relevant to state surprise billing laws, which impact eligibility for

IDR, the NSA defines a specified state law as “a State law that provides for a

method for determining the total amount payable under such a plan, coverage, or

issuer, respectively … in the case of a participant, beneficiary, or enrollee covered

under such plan or coverage and receiving such item or service from such a

nonparticipating provider or nonparticipating emergency facility.” 42 U.S.C. §

300gg-111(a)(3)(I); 45 C.F.R. § 149.30 (same).

        36.   The Centers for Medicare & Medicaid Services (“CMS”), the

federal agency within the Department of Health and Human Services (“HHS”)

that is primarily charged with implementing the IDR process, has issued several

resources to aid interested parties in determining whether a state surprise billing

law     exists.   See,   e.g.,   CAA     Enforcement      Letters,    available      at

https://www.cms.gov/marketplace/about/oversight/other-insurance-protections/

consolidated-appropriations-act-2021-caa (last accessed May 19, 2025); Chart

for Determining the Applicability for the Federal Independent Dispute Resolution

(IDR)         Process        (Jan.       13,        2023),        available          at




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https://www.cms.gov/files/document/caa-federal-idr-applicability-chart.pdf (last

accessed May 19, 2025).

       37.     Georgia has a specified state law called the Surprise Billing

Consumer Protection Act, codified at O.C.G.A. § 33-20E-1, et seq.; see Georgia

CAA          Enforcement      Letter      (Dec.      13,     2021),      available      at

https://www.cms.gov/cciio/programs-and-initiatives/other-insurance-

protections/caa-enforcement-letters-georgia.pdf (last accessed May 24, 2025).

For out-of-network emergency services and non-emergency services at in-

network facilities, this law requires payment at the greatest of: (1) the verifiable

contracted amount2 paid by all eligible health plans subject to the statute for the

same or similar services, as reflected in the Georgia All-Payer Claims Database;

(2) the most recent verifiable amount agreed to by the health plan and the

nonparticipating provider for the provision of the same or similar services; and

(3) any higher amount the health plan deems appropriate given the complexity of

the circumstances. See O.C.G.A. §§ 33-20E-4(b)(1)‒(3), 33-20E-5(b)(1)‒(3); Ga.

Comp. R. & Regs. r. 120-2-106-.05(2)(a)‒(c); see also Ga. Comp. R. & Regs. r.

120-2-106-.09 (reflecting establishment of the All-Payer Claims Database).

Georgia also provides for its own dispute resolution mechanism if the provider is




       2
         The “contracted amount” is defined as the median in-network amount paid during the
2017 calendar year by an insurer for the emergency or nonemergency services provided by in-
network providers engaged in the same or similar specialties and provided in the same or
nearest geographical area, adjusted for inflation annually. O.C.G.A. § 33-20E-2(b)(2).


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dissatisfied with payment. See O.C.G.A. § 33-20E-9; Ga. Comp. R. & Regs. r.

120-2-106-.10.

      38.    Finally, the NSA imposes certain other requirements for services

submitted to IDR in addition to the fact they are qualified IDR items or services.

For example, when a party submits multiple separate services to different patients

in a single dispute, they must comply with the NSA’s “batching rules.” These

require that the services be rendered to members of the same insurer or self-

funded health plan during a 30-business-day period by the same provider and for

treatment of the same or similar medical condition. See 42 U.S.C. § 300gg-

111(c)(3)(A). Further, parties are prohibited from initiating IDR disputes

involving the same parties and items or services during a 90-day period following

an IDR determination, also known as the “cooling off period.” See id. at § 300gg-

111(c)(5)(E)(ii).

      39.    When initiating the IDR process, providers must, among other

things, submit an attestation that the items and services in dispute are qualified

IDR items or services within the scope of the IDR process. See 45 C.F.R. §

149.510(b)(2)(iii)(A)(6); see also Notice of IDR Initiation Form, U.S. Dep’t of

Labor,           available         at            https://www.dol.gov/sites/dolgov/

files/ebsa/laws-and-regulations/laws/no-surprises-act/notice-of-idr-




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initiation.pdf. A copy of the IDR initiation form, including the attestation, are

provided to the non-initiating party, the IDRE, and the Departments.3

      C.       The IDR Initiation Process Notifies Parties of Facts That Render
               Disputes Ineligible.

      40.      Parties must initiate the IDR process online through a federal “IDR

Portal.”       The       website      for        submissions        is       https://nsa-

idr.cms.gov/paymentdisputes/s/.

      41.      The online process for initiating IDR is designed to notify initiating

parties of facts that render services and disputes ineligible and prevent parties

from inadvertently submitting ineligible items or services.

      42.      At each step of the process, the submitting party must answer

“Qualification Questions” through the online form. If the answers to those

questions indicate that the dispute is not eligible for IDR, the form will provide

an alert and not allow the submission to proceed.

      43.      The first page of the website specifies that parties may “[u]se this

form if you participated in an open negotiation period that has expired without

agreement for an out-of-network total payment amount for the qualified IDR item

or service.”




      3
        The “Departments” include Health and Human Services (“HHS”), the Department of
Labor (“DOL,”) and Treasury.


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      44.    The first page also provides a link to a list of states with specified

state laws that may render the dispute ineligible for the IDR process:




      45.    Before initiating the IDR process, parties must agree to certain terms

and conditions. The terms and conditions include a notice that the initiating party

must submit an “[a]ttestation that qualified IDR items or services are within the

scope of the Federal IDR process.”




      46.    After agreeing to the terms and conditions, initiating parties must

answer certain Qualification Questions.

      47.    The first page of the Qualification Questions asks whether the

service in question was provided prior to January 1, 2022. If the initiating party

answers “yes,” an alert appears stating, “This dispute is not eligible for the federal

IDR process because the date of service you provided is before 1/1/2022.” If the

initiating party answers “no,” it must select what type of organization it is from a

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list. If the initiating party is (or acting on behalf of) a health care provider, it must

enter a Tax ID number and a National Provider Identifier (NPI) for the provider

and select the type of health plan that covers the services in dispute from a pre-

populated list (e.g., individual health insurance issuer, fully insured private group

health plan, self-insured private (employer-based) group health plan, etc.).




       48.    If the initiation is not within 4 business days of the end of the 30-day

open negotiation period, the initiating party must provide a reason why they are

eligible for an extension and provide supporting documentation.




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      49.    In addition, the initiating party must note whether the health care

provider received consent from the beneficiary to waive surprise billing

protection. If the answer is “yes,” the initiating party will be alerted that the

“dispute is not eligible for the federal IDR process,” which will prevent the party

from proceeding with the initiation process.




      50.    After successfully completing the Qualification Questions, the

initiating party is asked to complete the Notice of IDR Initiation. The submitting

party must provide a variety of relevant information, including the name and

contact information of the health care provider, the claim number, the date of the

service, the QPA, the qualified IDR item or services at issue, and documentation

supporting these facts.

      51.    At the end of this process, the submitting party must attest, via

electronic signature, that the “item(s) and/or service(s) at issue are qualified

item(s) and/or services(s) within the scope of the Federal IDR process.”




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      52.    A copy of the Notice of IDR Initiation—including the initiating

party’s attestation that that the “item(s) and/or service(s) at issue are qualified

item(s) and/or services(s) within the scope of the Federal IDR process”—is

provided to the non-initiating party (i.e., the health plan), the IDRE, and the

Departments.

      53.    At every stage of this online process, the initiating party must make

false statements to submit a dispute for services that are not eligible for IDR, or

the process cannot continue. As such, when a party initiates the IDR process, it

has full knowledge of the requirements and limits of the IDR process.

      54.    HHS administers the IDR initiation process. Any submission made

through this system is a statement made to the Federal Government, and any

attestation made as part of the submission process is also made to the Federal

Government. False attestations to the Federal Government violate 18 U.S. § 1001.




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       D.     If Applicable, IDREs Make Binding Payment Determinations
              with Limited Judicial Review

       55.    After the provider initiates the IDR process, the parties select, or

HHS appoints, an IDRE. 42 U.S.C. § 300gg-111(c)(4)(F). The IDRE performs

two tasks.

       56.    First, the IDRE is required by regulation to “determine whether the

Federal IDR process applies.” 45 C.F.R. § 149.510(c)(1)(v). In making the

determination that the IDR process applies, the IDRE is directed to “review the

information submitted in the notice of IDR initiation” with the provider’s

attestation of eligibility. 45 C.F.R. § 149.510(c)(1)(v). In practice, this is a cursory

review by the IDRE based on incomplete information and rife with errors due to

the systemic overwhelm from the high volume of disputes.

       57.    Second, if the IDRE determines the IDR process applies, then the

IDRE proceeds to a payment determination. 42 U.S.C. § 300gg-111(c)(5)(A).

       58.    IDR payment determinations resemble a baseball-style arbitration

where the provider and health plan each submit an offer, and the IDRE selects

one party’s offer as the out-of-network rate. 42 U.S.C. § 300gg-111(c)(5)(B).

       59.    In making its determination, the IDRE must consider the “qualifying

payment amount” or “QPA”—typically the health plan’s median in-network

contracting rate for the services—and several “additional circumstances,” such as

training, experience, and quality of the provider, its market share, and the acuity

of the patient, among others. 42 U.S.C. § 300gg-111(c)(5)(C). IDREs cannot



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consider, among other things, the provider’s charges. 42 U.S.C. § 300gg-

111(c)(5)(D) (IDREs “shall not consider … the amount that would have been

billed by such provider or facility …”). Congress reasoned that permitting IDREs

to “consider non-market-based rates such as the providers’ billed charges … may

drive up consumer costs.” H.R. Rep. No. 116-615, at 57.

       60.   The NSA provides that IDR determinations are “binding” unless

there was “a fraudulent claim or evidence of misrepresentation of facts presented

to the IDR entity involved regarding such claim[.]” 42 U.S.C. § 300gg-

111(c)(5)(E)(i).

       61.   Parties to IDR proceedings are responsible for payment of two fees.

First, both parties must pay a non-refundable administrative fee of $115 when the

dispute is initiated. This is typically not recoverable even when the IDRE

determines that the dispute is not qualified for IDR, or even when the initiating

party later voluntarily withdraws the dispute. Second, both parties must pay an

IDRE fee before the IDRE makes the payment determination. The IDRE fee is

set by the specific IDRE and depends on the type of IDR submitted, but ranges

from $200 to $1,173. The party whose offer is selected by the IDRE is refunded

its IDRE fee, meaning it is only responsible for the $115 administrative fee. The

non-prevailing party is responsible for both the administrative fee and the IDRE

fee.

       62.   Notably, IDREs are only compensated when a dispute reaches a

payment determination. See 42 U.S.C. § 300gg-111(c)(5)(F). They do not receive


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      compensation when dismissing a dispute due to the ineligibility of the service.

      See id. And because IDREs are compensated on a per-dispute basis, they receive

      greater compensation when there are a greater total number of disputes.

            63.    The NSA permits judicial review “in a case described in any of

      paragraphs (1) through (4) of section 10(a) of title 9” of the Federal Arbitration

      Act (“FAA”). 42 U.S.C. § 300gg-111(c)(5)(E)(i)(II). This includes the following:

            a. where the award was procured by corruption, fraud, or undue
               means;

            b. where there was evident partiality or corruption in the
               arbitrators, or either of them;

            c. where the arbitrators were guilty of misconduct in refusing to
               postpone the hearing, upon sufficient cause shown, or in
               refusing to hear evidence pertinent and material to the
               controversy; or of any other misbehavior by which the rights
               of any party have been prejudiced; or

            d. where the arbitrators exceeded their powers, or so imperfectly
               executed them that a mutual, final, and definite award upon
               the subject matter submitted was not made.

      9 U.S.C. § 10(a)(1)‒(4).

IV.         HaloMD and the Provider Defendants Conspire to Exploit the NSA’s
            IDR Process and Defraud Health Plans like BCBSGA.

            64.    With the passage of the NSA, surprise billing providers like the

      Provider Defendants could no longer exploit American consumers through

      surprise medical bills. But by conspiring with third-party billing and revenue

      cycle companies like HaloMD, the Provider Defendants found a new target to

      exploit for massive profits: the NSA’s IDR process, and by extension, health

      plans like BCBSGA and its employer plan sponsor customers.


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      65.    HaloMD solicits and represents many different types of out-of-

network providers who were key drivers in surprise billing, including emergency

medicine providers, air ambulance providers, critical care providers, pathology

providers, IONM providers, and radiology providers. These provider groups,

including the Provider Defendants, frequently retain HaloMD to administer the

IDR process on their behalf.

      66.    HaloMD’s website characterizes HaloMD as “the premier expert in

Independent Dispute Resolution (IDR)[.] … Our deep expertise, advanced

technology, and strategic legal approaches position us as leaders in this space. …

[W]e empower out-of-network providers to secure sustainable, predictable

revenue streams. Backed by a dedicated team and industry-leading success rates,

we deliver the financial outcomes that healthcare providers, practice leaders, and

executives rely on for long-term financial stability.” See https://halomd.com/ (last

visited May 19, 2025).

      67.    HaloMD touts its “proprietary platform” as one founded with

“advanced technology and AI-driven infrastructure[.]” Id. HaloMD also

represents that it “instantly assesses each case for eligibility under The No

Surprises Act and relevant state regulations.” Providers submit services for

dispute in the IDR process through HaloMD’s portal. See https://halomd.com/

(last visited May 19, 2025).

      68.    HaloMD further represents that it “gathers and organizes the

necessary documentation [from the provider], [and] prepar[es] a compelling case


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that highlights the provider’s position, ensuring nothing is overlooked[.]” Id.

Upon information and belief, Defendants exchange information and

documentation relevant to the disputed services to pursue their exploitation of the

IDR process.

       69.      HaloMD operates on a commission-based reimbursement model. Its

website states: “We don’t get paid until you get paid.” Id. HaloMD thus has a

financial incentive to (1) bring as many services as possible through the IDR

process, regardless of the merits or the applicability of the NSA to those disputes,

and (2) seek the highest possible monetary award for its provider clients in the

IDR process. The Provider Defendants share these same financial incentives.

       70.      However, HaloMD is not the only party initiating IDR for the

Provider Defendants. Rather, many IDRs pursued by the Provider Defendants

were         initiated   by     SPEMG            through    its      email   address

soundfedidr@soundphysicians.com, including for services provided by HMP.

The character of IDRs pursued by SPEMG itself (as opposed to this submitted by

HaloMD) follow the same pattern of systemic initiation of faulty and ineligible

disputes.

       71.      The Provider Defendants share resources and intermingle operations

with respect to the submission of healthcare claims, payment for healthcare

services, and pursuit of IDR. As noted above, SPEMG filed IDR initiations on

behalf of HMP. Even in disputes initiated by HaloMD, the email address recorded

by the initiating party for IDR involving HMP services is soundnsa@halo.com.


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The interchangeable nature and shared control of the Provider Defendants is

likewise evident in the fact that BCBSGA’s EOPs for HMP services were

directed to P.O. Box 748996, Los Angeles, CA 90074-8996—a national Sound

Physicians address. See Sound Physicians, Patient Resources (listing this address

as the address for patient billing and payment information for emergency

medicine), available at https://soundphysicians.com/patient-resources/ (last

visited May 26, 2025). Open negotiation notices for HMP’s services were also

sent from this same address.

      72.   Thus, the Provider Defendants themselves falsely attested eligibility

in many disputes and, through their commingled operations, clearly had

knowledge of the broader ongoing illegal scheme.

      73.   Defendants’ scheme to exploit the IDR process involves three

related tactics. First, using interstate wires, Defendants make repeated false

representations and attestations of eligibility to the government, the IDREs, and

health plans like BCBSGA. Second, Defendants strategically submit massive

numbers of open negotiations and IDR initiations—most of which are ineligible

for IDR—in an attempt to overwhelm health plans like BCBSGA, IDREs, and

the IDR process. Third, after pushing through an enormous number of ineligible

disputes using the first two tactics, Defendants capitalize on flaws in the IDR

process by submitting—and often prevailing—with outrageous payment offers

that they could never receive on the open market, including many that exceed the




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Provider Defendants’ “inflated,” arbitrary, and “non-market-based” charges. See

H.R. Rep. No. 116-615 (2020), at 53, 57.

      A.     Via Interstate Wires, Defendants Knowingly Make False
             Attestations of Eligibility to Initiate the IDR Process

      74.    When initiating ineligible disputes against BCBSGA through the

IDR process, the Provider Defendants, and HaloMD on behalf of the Provider

Defendants, make repeated false attestations and representations that the items or

services in dispute are “qualified item(s) and/or service(s) within the scope of the

Federal IDR process.” See 45 C.F.R. § 149.510(b)(2)(iii)(A)(6); see also Notice

of   IDR     Initiation   Form,     U.S.      DEP’T   OF      LABOR,     available      at

https://www.dol.gov/sites/dolgov/files/ebsa/laws-and-regulations/laws/no-

surprises-act/notice-of-idr-initiation.pdf.      Defendants     make     these       false

attestations and representations to BCBSGA, the IDRE, and the Departments.

      75.    The items and services that Defendants falsely attest are “qualified

item(s) and/or service(s) within the scope of the Federal IDR process” are clearly

ineligible. For example, Defendants will attest that services rendered to members

enrolled in a BCBSGA Medicaid or Medicare plan fall within the scope of the

IDR process, even though the NSA is inapplicable to these government programs.

Defendants also routinely attest that services are within the scope of the IDR

process when Defendants made no attempt to pursue mandatory open

negotiations. And Defendants routinely attest that services rendered to members

subject to Georgia’s state surprise billing laws are within the scope of the IDR



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process, even though the first page of the IDR initiation process provides a link

to states that have surprise billing laws, and the CMS also publishes charts and

other resources to inform providers of the states with surprise billing laws and the

scope and applicability of those laws. See Notice of IDR Initiation, HHS,

available   at   https://nsa-idr.cms.gov/paymentdisputes/s/;      see,   e.g.,   CAA

Enforcement Letters, CMS, supra; Chart for Determining the Applicability for

the Federal Independent Dispute Resolution (IDR) Process, CMS, supra.

      76.    Typically, HaloMD makes these false attestations when initiating

the IDR process on behalf of the Provider Defendants. In these instances, the

Provider Defendants are complicit in the false attestations of eligibility because

they engage HaloMD to initiate the IDR process, and they know the services at

issue in the disputes are not eligible for the IDR process.

      77.    The Provider Defendants also directly submit false attestations when

initiating IDR on their own or each other’s behalf.

      78.    In addition, BCBSGA often notifies HaloMD and/or the Provider

Defendants regarding the ineligibility of the items or services at issue in their

notice of IDR initiation.

      79.    As noted, the online process for initiating IDR is designed to notify

initiating parties of facts that render services and disputes ineligible and prevent

parties from inadvertently submitting ineligible items or services. Initiating

parties must identify, among other things, the specific date that they initiated open

negotiations, the type of health plan coverage for the patient who received the


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services, and an affirmative attestation that the “item(s) and service(s) at issue are

qualified items and/or service(s) within the scope of the Federal IDR process.”

At every stage of the initiation process, Defendants had to make affirmative false

statements to proceed with the dispute or the process could not continue for these

plainly ineligible services.

      80.    For example, by design of the online form, each and every time the

Defendants submitted services that for which they had not yet exhausted the 30-

day open negotiation period, they had to affirmatively lie in answering this

question to effectuate their fraud scheme and get the ineligible service approved.

BCBSGA’s records reflect that more than 400 disputes involved this very issue,

and therefore, Defendants affirmatively lied at least 400 separate times in the IDR

initiation forms.

      B.     Defendants Strategically Initiate a Massive Volume of IDR
             Disputes Simultaneously.

      81.    To push thousands of ineligible disputes against BCBSGA through

the IDR process with their false attestations of eligibility, Defendants also initiate

a massive number of IDR disputes all at once in an attempt to overwhelm

BCBSGA and IDREs.

      82.    Overall, the NSA’s IDR process has been overwhelmed by a

staggering volume of disputes that far exceed the government’s initial estimates.




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        83.   Before the IDR process launched, CMS estimated that parties would

initiate about 22,000 IDR process disputes in the first year. See 86 Fed. Reg.

55,980, 56,068, 56,070 (Oct. 7, 2021).

        84.   The reality has shattered those estimates. The most recent

government statistics show that in the first half of 2024, disputing parties—

virtually all of whom are providers—initiated 610,491 disputes. Supplemental

Background on Federal Independent Dispute Resolution Public Use Files, Jan.

1,      2024—June      30,     2024,     available      at    https://www.cms.gov/

files/document/federal-idr-supplemental-background-2024-q1-2024-q2.xlsx.

This figure from six months is nearly 28 times the volume of disputes that the

government originally anticipated over a full year.

        85.   Government reporting also shows that most disputes are initiated by

a small number of providers and their representatives. The top ten initiating

parties initiated about 69% of all disputes initiated in the first six months of 2024,

and the top three initiating parties initiated about 44% of all disputes during that

period. Supplemental Background on Federal Independent Dispute Resolution

Public Use Files, Jan. 1, 2024—June 30, 2024, CMS, supra.

        86.   HaloMD is among the three most prolific filers of IDR process

disputes. During the first six months of 2024, HaloMD initiated 28,995 disputes

through the IDR process—which by itself exceeded the government’s original

estimate for total annual disputes. That means that HaloMD was initiating an

average of more than 160 disputes against health plans per day. See id.


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      87.    As between just the Defendants and BCBSGA, HaloMD and the

Provider Defendants initiated an average of more than 15 disputes against

BCBSGA per day.

      88.    But HaloMD and the Provider Defendants did not merely initiate a

steady volume of IDR process disputes each day. Instead, Defendants

strategically collate and initiate hundreds of IDR process disputes against

BCBSGA on the same day, most of which do not involve qualified IDR items or

services within the scope of the NSA’s IDR process. Frequently, Defendants

purposefully make no effort to initiate or pursue open negotiations before

initiating a new dispute.

      89.    For example, on May 3, 2024, Defendants initiated an astounding

342 separate IDR proceedings against BCBSGA. 279 of the disputes—more than

80%--were not eligible for IDR in the first place. Yet BCBSGA lost in 192 of the

disputes, where the IDREs ordered BCBSGA to pay an additional $390,704.69

from what was originally reimbursed, plus $118,754 in fees associated with the

IDR process.

      90.    Defendants’ goal is to interfere with BCBSGA’s ability to

effectively identify ineligible disputes and submit appropriate payment offers to

IDREs and overwhelm the IDREs tasked with making applicability and payment

determinations.

      91.    Through considerable operational burden and expense, BCBSGA

has crafted workflows allowing it to identify most of the unqualified items or


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services and notify HaloMD and/or the Provider Defendants during open

negotiations that the disputes are not qualified for IDR. Yet despite BCBSGA’s

objections, most of Defendants’ ineligible disputes reach a payment

determination due to Defendants’ knowingly false attestations of eligibility.

      92.    According to federal law, “the certified IDR entity selected must

review the information submitted in the notice of IDR initiation”— including

Defendants’ false attestations of eligibility—“to determine whether the Federal

IDR process applies.” 45 C.F.R. § 149.510(c)(1)(v). IDREs also complain that

they spend 50% to 80% of their time on eligibility determinations, 88 Fed. Reg.

75,744, 75,753 (Nov. 3, 2023). And they have no incentive to dismiss disputes

due to ineligibility because they only receive compensation if a dispute reaches a

payment determination. See 42 U.S.C. § 300gg-111(c)(5)(F).

      93.    Thus, when receiving an avalanche of ineligible disputes from

Defendants all at once, IDREs frequently rely on Defendants’ false attestations

of eligibility to reach and issue a payment determination on ineligible disputes.

      94.    Since 2024, nearly 70% of disputes from the Defendants that

reached a payment determination are ineligible for the IDR process, often despite

objections from BCBSGA.

      C.     Defendants Submit Outrageous Payment Offers to Improperly
             Maximize Payments on Ineligible Disputes.

      95.    To maximize payments for the thousands of ineligible IDRs that

Defendants strategically initiated with false attestations of eligibility, Defendants



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submit outrageous payment offers that far exceed what the Provider Defendants

could ever receive for their services from patients or from health plans in a

competitive market. Indeed, the payment offers sometimes even exceed the

Provider Defendants’ billed charges. Due to systemic issues with the IDR

process, Defendants frequently prevail with their unreasonable payment offers.

      96.    Congress directed IDR payment determinations to be made

according to the QPA and several “additional circumstances,” such as training,

experience, and quality of the provider, its market share, and the acuity of the

patient, among others. 42 U.S.C. § 300gg-111(c)(5)(C). In practice, however,

IDRE payment determinations skew heavily in favor of providers and heavily in

excess of the QPA.

      97.    In the most recent reporting period, providers prevailed in 84% of

IDR payment determinations. Supplemental Background on Federal Independent

Dispute Resolution Public Use Files, Jan. 1, 2024—June 30, 2024, CMS, supra.

During that period, prevailing offers exceeded the QPA 85% of the time. See id.

And studies from 2023 show that when providers prevail in IDR, they prevail at

a median rate of over three times the QPA. See Zachary L. Baron et al., O’NEILL

INSTITUTE, GEORGETOWN LAW, 2023 Data from the Independent Dispute

Resolution    Process:    Select     Providers      Win     Big,    available      at

https://oneill.law.georgetown.edu/

publications/2023-data-from-the-independent-dispute-resolution-process-select-

providers-win-big/.


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      98.    IDREs are compensated on a per-dispute basis. See 42 U.S.C. §

300gg-111(c)(5)(F). Disputes are overwhelmingly initiated by providers. Thus,

siding with providers incentivizes more providers to file more disputes, which

generates greater compensation for the IDREs.

      99.    Defendants know that IDREs select the provider’s offer in more than

8 out of every 10 payment determinations, so they can frequently prevail with

outrageous offers.

      100. On average, Defendants requested an astonishing 900% more than

BCBSGA’s QPA in IDR. These astronomical amounts far exceed what the

Provider Defendants could expect to receive for their services from patients or

from health plans in a competitive market. Defendants’ systematic requests for

these astronomical amounts intentionally exploit the IDR process for undue gains

at BCBSGA’s expense.

      101. Defendants’ payment offers also exploit weaknesses in the IDR

process. For example, Defendants know that the IDREs cannot consider the

provider’s charges when making a payment determination. 42 U.S.C. § 300gg-

111(c)(5)(D). Congress prohibited IDREs from considering “inflated,” “non-

market-based rates such as the providers’ billed charges” because merely

considering the provider’s charge “may drive up consumer costs.” H.R. Rep. No.

116-615, at 53, 57.

      102. With full knowledge that IDREs cannot consider the Provider

Defendants’ billed charges, Defendants do not disclose their billed charges to the


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     IDRE and then submit offers that exceed the Provider Defendants’ charges. On

     average, these billed charges are similarly about nine times the amount of

     BCBSGA’s QPA in IDR.

           103. Defendants’ specific scheme of requesting amounts higher than

     billed charges primarily began in October 2024 and continues through the present

     time, with IDR demands currently exceeding billed charges by over $400,000 in

     aggregate.

           104. Prior to the enactment of the NSA, the Provider Defendants rarely,

     if ever, recovered their full billed charges from patients or health plans. They

     never collected amounts above their charges. But through their scheme to exploit

     the IDR process, Defendants now often recover amounts that exceed their

     “inflated, “non-market-based” charges for the services.

V.         Harm to BCBSGA, BlueCard Plans, Plan Sponsors, and Consumers

           105. As a result of the unlawful conduct by HaloMD and the Provider

     Defendants, BCBSGA and its employer plan sponsor customers have paid

     excessive amounts for medical services, incurred unnecessary administrative and

     arbitration fees, and faced increased costs for healthcare services. The financial

     harm caused by HaloMD’s abusive practices is ongoing and threatens the

     affordability and sustainability of health benefits for BCBSGA’s members.

           106. BCBSGA maintains data on the IDR process dating from January

     2024. For a period from January 3, 2024, and April 29, 2025, BCBSGA’s data

     shows that Defendants initiated a whopping 7,268 IDR proceedings against


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BCBSGA. However, the earliest publicly available data published by CMS shows

that the Provider Defendants began initiating IDR against BCBSGA in January

2023, so the scheme likely began then or before.

      107. BCBSGA determined that 4,966 of the 7,268 disputes from this

period—an astounding 70%—were ineligible for IDR for reasons like failure to

initiate mandatory open negotiations, Georgia’s specified state law governing the

dispute, or that the Provider Defendants had treated a Medicare or Medicaid

beneficiary when such plans are exempt from the NSA. For these disputes

catalogued in BCBSGA’s data, the Provider Defendants were awarded

$4,889,185.20 above BCBSGA’s original reimbursements.

      108. The ineligible disputes obligated BCBSGA to pay $1,052,611.50 in

fees associated with IDR, reflecting $242,973.84 in administrative fees paid to

the Departments and $809,637.66 paid to IDREs.

      109.   The total financial harm from Defendants’ scheme involving

ineligible disputes against BCBSGA from this period alone is at least

$5,941,796.72.

                             THE RICO ENTERPRISE

      110. The enterprise consists of the Provider Defendants and HaloMD (the

“Enterprise”).

      111. The Enterprise has used the interstate wires to exploit the NSA’s

IDR process to defraud BCBSGA, its plan sponsors, and BlueCard plans out of

millions of dollars. In furtherance of this scheme, the Enterprise (1) uses the

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interstate wires to make repeated false representations and attestations of

eligibility to the government, the IDREs, and BCBSGA, (2) strategically initiates

a massive number of IDRs, most of which are ineligible for the process, and (3)

exploits flaws in the IDR process by submitting and often prevailing on

knowingly ineligible disputes with outrageous payment offers.

      112. Because of the actions of the Enterprise, approximately 70% of the

disputes in which Defendants prevailed against BCBSGA—nearly 5,000

individual disputes—were ineligible for the IDR process. This illegal scheme

resulted in damages of more than $5.9 million.

      113. Examples of specific fraudulent disputes are listed below.

      A.    IDR Proceeding DISP-1317978

      114. The IDR proceeding captioned DISP-1317978 involved an

emergency service that SPEMG rendered on November 25, 2023, to a member of

a Medicaid managed care plan administered by BCBSGA. SPEMG submitted a

claim for reimbursement to BCBSGA using the patient’s Medicaid insurance ID

number, which means SPEMG reviewed the patient’s insurance card and was

aware the patient was a Medicaid beneficiary. SPEMG billed $630 in charges for

the emergency service. BCBSGA approved the claim to pay $46.97—the

Medicaid rate for the services and what Medicaid regulations require providers

like SPEMG to accept the approved rate as payment in full. BCBSGA issued an

EOP to SPEMG reflecting this payment amount and, like the member’s insurance

card, evidencing that the patient was a Medicaid beneficiary.


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      115. On January 25, 2024, SPEMG sent a notice of open negotiation to

BCBSGA. If the services had been qualified for IDR, the deadline to initiate IDR

would be four business days after the 30-business-day open negotiation period,

or March 14, 2024. Yet IDR was not initiated until May 9, 2024, when HaloMD,

on behalf of SPEMG, falsely attested that the services SPEMG rendered to a

BCBSGA Medicaid member were qualified for IDR. SPEMG knowingly

permitted the services to proceed to IDR despite having full knowledge that they

were rendered to a Medicaid member and therefore ineligible for the process.

Although BCBSGA timely objected to the dispute’s eligibility for IDR, the IDRE

notified both BCBSGA and HaloMD on February 3, 2025, that it had deemed the

dispute eligible.

      116. BCBSGA submitted its payment offer of $46.97 (the Medicaid rate)

and transmitted full payment of fees (the $115 non-refundable administrative fee

and the $397 IDRE fee) by the February 18, 2025, deadline. HaloMD, on behalf

of SPEMG, submitted an offer of $1,250—approximately double the amount of

SPEMG’s billed charges for the service. Because of Defendants’ illegal scheme

and false representations of eligibility, the IDRE selected HaloMD’s payment

offer, and BCBSGA was ordered to, and in fact, adjusted the claim to issue the

additional payment to SPEMG.

      B.     IDR Proceeding DISP-1727612

      117. The IDR proceeding captioned DISP-1727612 involved an

emergency service that SPEMG rendered on May 18, 2024, to a member of a


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fully insured BCBSGA health plan. As a fully-insured plan, the member’s plan is

subject to state law, and therefore, Georgia’s surprise billing law—rather than the

NSA—governed the reimbursement rate for services. SPEMG billed $2,392 for

the service, and BCBSGA approved payment of $179.28, which was owed by the

member pursuant to their deductible. No QPA applied to this claim because the

NSA and IDR were inapplicable.

      118. HaloMD, on behalf of SPEMG, initiated IDR on September 3, 2024,

with a false attestation that the emergency service was a qualified IDR item or

service. On September 5, 2024, BCBSGA timely responded to the IDR initiation

to assert that IDR was not applicable to the dispute, stating: “This claim is subject

to GA State Surprise Billing Laws.” Nevertheless, the IDRE determined that IDR

applied to the dispute and selected HaloMD’s payment offer of $3,012.

HaloMD’s $3,012 offer was greater than the $2,392 amount SPEMG had billed

for the same service in the original claim. Because of Defendants’ illegal scheme

and false representations of eligibility, BCBSGA was ordered to, and in fact,

adjusted the claim to pay the additional amount on December 27, 2024.

      C.     IDR Proceeding DISP-1317029

      119. The IDR proceeding captioned DISP-1317029 involved an

emergency service that HMP rendered on August 18, 2023, to a member of a fully

insured plan administered by BCBSGA. The member’s plan is subject to state

law and Georgia’s surprise billing law, so the services are ineligible for the NSA’s

IDR process. However, no benefits were available under the member’s health


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benefit plan, and BCBSGA therefore denied coverage and reimbursement for the

service. No QPA applied to this claim because the NSA and IDR were

inapplicable for two independent reasons: (1) state law governed reimbursement,

and (2) there were no “covered services.”

      120. HaloMD, on behalf of HMP, initiated IDR on May 9, 2024, with a

false attestation that the emergency service was a qualified IDR item or service.

On May 14, 2024, BCBSGA timely responded to the IDR initiation to assert that

IDR was not applicable to the dispute. Nevertheless, the IDRE determined that

the IDR process applied and selected HaloMD’s payment offer of $1,196—equal

to HMP’s billed charges for the service. Because of Defendants’ illegal scheme

and false representations of eligibility, BCBSGA was ordered to, and in fact,

adjusted the claim to pay the additional amount on October 3, 2024.

      D.    IDR Proceeding DISP-1318943

      121. The IDR proceeding captioned DISP-1318943 involves an

emergency service that HMP rendered on December 20, 2023, to a member of a

Medicaid managed care plan administered by BCBSGA. HMP submitted a claim

for reimbursement to BCBSGA using the patient’s Medicaid insurance ID

number, which means HMP reviewed the patient’s insurance card and was aware

the patient was a Medicaid beneficiary. HMP billed $1,196 in charges for the

emergency service. BCBSGA approved the claim to pay $71.30—the Medicaid

rate for the services and what Medicaid regulations require providers like HMP

to accept as payment in full. BCBSGA issued an EOP to HMP reflecting this


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payment amount and, like the insurance card, evidencing that the patient was a

Medicaid beneficiary.

      122. Neither HMP nor HaloMD initiated open negotiations for this

dispute. Nevertheless, HaloMD, on behalf of HMP, initiated IDR on May 9, 2024,

with a false attestation that the emergency service was a qualified IDR item or

service. On May 14, 2024, BCBSGA timely responded to the IDR initiation to

assert that IDR was not applicable to the dispute, noting both that negotiations

were not pursued and that the type of plan was not subject to the NSA.

Nevertheless, the IDRE determined that the IDR process applied and selected

HaloMD’s payment offer of $1,196 (equal to HMP’s billed charges). Because of

Defendants’ illegal scheme and false representations of eligibility, BCBSGA was

ordered to pay this amount and was responsible for a $115 administrative fee and

$620 IDRE fee.

      123. Notably, the IDRE’s determination email was addressed to

soundnsa@halomd.com, even though the rendering provider was HMP.

      E.    IDR Proceeding DISP-1689761

      124. The IDR proceeding captioned DISP-1689761 involves an

emergency service that HMP rendered on December 26, 2022, to a member of a

Medicare Advantage plan administered by BCBSGA. HMP submitted a claim for

reimbursement to BCBSGA using the patient’s Medicare ID number, which

means HMP reviewed the patient’s insurance card and were aware they were a

Medicare beneficiary. HMP billed $1,761 in charges for the emergency service.


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BCBSGA approved the claim to pay $170.86, which was the Medicare rate for

the services. BCBSGA issued an EOP to SPEMG reflecting this payment amount

and, like the insurance card, evidencing that the patient was a member of a

Medicare Advantage plan.

      125. In this dispute, it was SPEMG, rather than HaloMD, who initiated

the IDR on behalf of HMP. SPEMG initiated the IDR on March 28, 2025.

However, no entity had initiated open negotiations for the service. On the same

day IDR was initiated, BCBSGA sent a letter to both HMP (addressed to a

national Sound Physicians address in Los Angeles) and the IDRE stating that the

services were ineligible for IDR because (1) there had been no open negotiation,

and (2) the member’s plan type was not subject to the NSA. Nevertheless, the

IDRE determined that IDR applied to the dispute and selected SPEMG’s payment

offer of $1,761—an amount equal to HMP’s billed charges and over ten times the

appropriate Medicare rate. Because of Defendants’ illegal scheme and false

representations of eligibility, BCBSGA was ordered to pay this amount and was

additionally responsible for a $115 administrative fee and $740 IDRE fee.

      F.    IDR Proceeding DISP-272256

      126. The IDR proceeding captioned involved emergency services that

SPEMG provided to multiple patients during a period from October 21, 2022, to

November 7, 2022. Of the ten patients whose services were disputed in this IDR,

four were members of fully insured health plans subject to Georgia’s surprise

billing law, and six were members of various self-funded plans. For each service,


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SPEMG billed $1,761 in charges. Its submission of claims to BCBSGA meant

SPEMG accessed the patients’ insurance information and were aware that the

patients were members of different health plans, some subject to state law

requirements. BCBSGA approved reimbursement from $88.05 to $283.38,

pursuant to the terms of the individual health plans at issue.

      127. SPEMG submitted an open negotiation notice for only one of the ten

services disputed in the subsequent IDR. BCBSGA sent correspondence to a

national Sound Physicians address in Los Angeles, California acknowledging the

open negotiation notice. Otherwise, none of the Defendants pursued open

negotiations for this dispute.

      128. On August 20, 2024, SPEMG initiated the IDR on its own behalf

(rather than HaloMD) and pursued all ten services as a batched payment dispute.

BCBSGA objected to the disputes eligibility, asserting that (1) open negotiations

had not been exhausted, (2) certain services were subject to a specified state law,

and (3) the NSA’s batching rules were not followed because the dispute involved

a mixture of insurer and self-funded health plan claims (batching must be

according to the same insurer or self-funded health plan).

      129. However, the IDRE incorrect determined that IDR applied to the

dispute and selected Sound Physician’s payment offer of $1,761 for each

service—equivalent to its original billed charges. Because of Defendants’ illegal

scheme and false representations of eligibility, the IDRE ordered BCBSGA to




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pay this amount, and BCBSGA was additionally responsible for an administrative

fee of $50 and an IDRE fee of $930.

      130. The above examples merely illustrate the rampant conduct

implicating thousands of claims submitted to IDR during the period in dispute.

                            CLAIMS FOR RELIEF

    COUNT 1 - VIOLATION OF RACKETEER INFLUENCED AND
  CORRUPT ORGANIZATIONS ACT (“RICO”), 18 U.S.C. §§ 1962(c)-(d))

      131. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.

      132. The Enterprise and the individuals therein conduct their business—

legitimate and illegitimate—through corporate entities, each of which is a

separate legal entity.

      133. At all relevant times, the Enterprise have been “persons” under 18

U.S.C. §1961(3) because they are capable of holding, and do hold, “a legal or

beneficial interest in property.”

      134. Section 1962(c) makes it “unlawful for any person employed by or

associated with any enterprise engaged in, or the activities of which affect,

interstate or foreign commerce, to conduct or participate, directly or indirectly, in

the conduct of such enterprise’s affairs through a pattern of racketeering activity.”

18 U.S.C. § 1962(c).

      135. Section 1962(d) makes it unlawful for “any person to conspire to

violate” Sections 1962(c), among other provisions. 18 U.S.C. § 1962(d).



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       136. Since on and before January 3, 2024, the Enterprise has been

engaged in a scheme to increase its profits by knowingly submitting claims that

were ineligible for the IDR process and knowingly demanding payments far in

excess of commercially reasonable amounts.

       137. From the patient’s insurance cards, BCBSGA’s EOPs, the plain text

of federal laws and regulations, CMS publications and resources, their

preparation of IDR initiation forms and notices, their participation in the IDR

process, and the specific objections to eligibility that BCBSGA submitted to the

Provider Defendants and to HaloMD, among other sources, Defendants knew that

the services and disputes that they were initiating were ineligible for the IDR

process. Yet Defendants continued to proceed with those services and disputes,

and initiate and falsely attest to the eligibility of additional ineligible services and

disputes, despite their knowledge of ineligibility.

       138. The Enterprise was associated with an illegal enterprise, and

conducted and participated in that enterprise’s affairs, through a pattern of

racketeering activity consisting of numerous and repeated uses of the interstate

wire facilities to execute a scheme to defraud, all in violation of RICO, 18 U.S.C.

§§ 1962 (c)-(d).

       139. These predicate acts, committed by interstate wire, include:

submitting services and disputes through the online IDR eligibility portal that

were ineligible for the IDR process; initiating hundreds of disputes at the same

time and in such a way as to make it impossible for BCBSGA to reasonably


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identify and object to all ineligible disputes; demanding outrageous payments far

in excess of their charges, much less a commercially reasonable amount;

engaging in the IDR process in bad faith; and procuring payments from BCBSGA

on claims that were ineligible for IDR via interstate wire and through the U.S.

mail.

        140. These predicate acts of wire fraud occurred regularly since

approximately on and before January 3, 2024, and included electronic

communication relating to the IDR process.

        141. The Enterprise profited substantially from the enterprise, ultimately

receiving millions in illicitly obtained credits from BCBSGA and further

damaging BCBSGA by more than $1 million in additional fees. These IDR

initiations were submitted via interstate wire facilities.

        142. At all relevant times, the Enterprise and the individuals therein were

associated-in-fact for the common purpose of engaging in the profit-making

scheme alleged herein.

        143. The members of the RICO enterprise all shared a common purpose

to enrich themselves at the expense of BCBSGA by fraudulently inducing and

compelling BCBSGA to pay exorbitant amounts for services that were not

eligible for the IDR process.

        144. The participants in the RICO enterprise had systematic linkage to

each    other   through    contractual     relationships,    financial   ties,   shared

correspondence, common addresses for correspondence and receipt of payment,


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and continuing coordination of activities. The Enterprise functioned as a

continuing unit with the purpose of furthering the illegal scheme and their

common purpose of increasing their revenues and profits. The Enterprise

participated in the operation and management of the RICO enterprise by directing

its affairs as described herein.

      145. The Enterprise conducted and participated in the affairs of the RICO

enterprise through a pattern of racketeering activity that consisted of numerous

and repeated violations of the federal wire fraud statute, which prohibits the use

of any interstate or foreign mail or wire facility for the purpose of executing a

scheme to defraud, in violation of 18 U.S.C. §§ 1341 and 1343.

      146. The Enterprise received payment for the fraudulent claims from

BCBSGA through the interstate wire facilities in violation of 18 U.S.C. §§ 1341

and 1343. Each such payment constituted a separate wire fraud violation. Each of

these violations was related because they shared the common purpose of

defrauding BCBSGA.

      147. These related acts had the same or similar purpose, results,

participants, victims, and methods of commission, and are otherwise related by

distinguishing characteristics which are not isolated events.

      148. The Enterprise had the specific intent to participate in the overall

RICO enterprise, which is evidenced by its scheme to defraud BCBSGA.

      149. The Enterprise conducted and participated both directly and

indirectly in the conduct of the above-described RICO enterprise’s affairs through


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a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c). Specifically,

the claims submitted to the IDR process contained uniform misrepresentations

that the claims were eligible for that process, and contained inflated amounts.

      150. The Enterprise and the individuals therein conspired to violate

Sections 1962(c), in violation of 18 U.S.C. § 1962(d).

      151. BCBSGA is entitled to treble damages and reasonable attorneys’

fees pursuant to 18 U.S.C. § 1964(c).

COUNT 2 – VIOLATION OF THE GEORGIA RICO STATUTE, O.C.G.A. §
                          16-14-4

      152. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 151.

      153. The Georgia RICO statute, O.C.G.A. § 16-14-4, subsection (b),

prohibits “any person employed by or associated with any enterprise to conduct

or participate in, directly or indirectly, such enterprise through a pattern of

racketeering activity.”

      154.    The Enterprise engaged in a pattern of racketeering activity in

violation of the Georgia RICO statute by knowingly submitting claims that were

ineligible for the IDR process and knowingly demanding payments in excess of

commercially reasonable amounts. These claims were submitted, and these

payments were received, through the use of interstate wire communications.

      155. The Enterprise further conspired and/or endeavored to violate the

Georgia RICO statute in violation of O.C.G.A. § 15-14-4, subsection (c).



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Defendants formed an “enterprise” under the Georgia RICO statute. Defendants

had a common purpose to submit ineligible claims and obtain improper payments.

Defendants worked together to do so, forming relationships among them of

sufficient longevity to permit their coconspirators to pursue the enterprise’s

purpose.

      156. BCBSGA suffered economic injury that flowed directly from the

Enterprise’s violations of the Georgia RICO statute and was proximately caused

thereby.

      157. As a result thereof, the Enterprise’s conduct and participation in the

racketeering activity described herein has caused millions of dollars in damages.

      158. BCBSGA is also entitled to treble damages pursuant to O.C.G.A. §

16- 14-6, subsection (c).

           COUNT 3 – COMMON LAW FRAUD/FRAUDULENT
                      MISREPRESENTATION

      159. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.

      160. For each of the IDRs initiated, Defendants submitted a completed

version of the mandatory IDR notice of initiation to the Departments, to the

IDREs, and to BCBSGA, which, in part, contained the following attestation:

             I, the undersigned initiating party (or representative of the
             initiating party), attests that to the best of my
             knowledge…the item(s) and/or service(s) at issue are
             qualified item(s) and/or service(s) within the scope of the
             Federal IDR process.



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      161. The Provider Defendants, or HaloMD on behalf of the Provider

Defendants, submitted the IDR notice of initiation in each dispute with full

knowledge of, or at the very least with reckless disregard to, the falsity of this

attestation. From the patient’s insurance cards, BCBSGA’s EOPs, the plain text

of federal laws and regulations, CMS publications and resources, the Defendants’

preparation of IDR initiation forms and notices, their participation in the IDR

process, and the specific objections to eligibility that BCBSGA submitted to the

Provider Defendants and to HaloMD, among other sources, Defendants knew that

the services and disputes they were initiating were ineligible for the IDR process.

      162. The Provider Defendants, and HaloMD on behalf of the Provider

Defendants, nevertheless submitted these false attestations and did so with the

intent that the IDRE and BCBSGA rely on them. According to federal law, “the

certified IDR entity selected must review the information submitted in the notice

of IDR initiation”— including Defendants’ false attestations of eligibility—“to

determine whether the Federal IDR process applies.” 45 C.F.R. §

149.510(c)(1)(v). Even if BCBSGA contested eligibility, Defendants’ deliberate

misrepresentation to the IDRE, on which the IDRE relied, forced BCBSGA to

rely on the misrepresentation because once the IDRE determines the dispute is

eligible, BCBSGA has no choice but to proceed with the process, submit a final

offer, and allow the dispute the continue to a payment determination; any other

approach would result in a default award against BCBSGA in favor of HaloMD




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and the Provider Defendant it represented for whatever outrageous amount

HaloMD included in its final offer.

      163. These false attestations of eligibility pertain to material facts in the

IDR process because they go to the heart of the IDRE’s jurisdiction to even hear

the dispute.

      164. The Provider Defendants, and HaloMD on behalf of the Provider

Defendants, submitted the false attestations to receive a windfall for themselves,

namely, IDR payment determinations in favor of Defendants and against

BCBSGA regarding items or services that were ineligible for resolution through

the IDR process.

      165. At all times when submitting the false attestations and engaging in

the relevant IDR disputes, HaloMD was acting within the scope of its agreements

with the Provider Defendants to handle the IDR process for the Provider

Defendants in connection with the identified disputes.

      166. The Provider Defendants, and HaloMD on behalf of the Provider

Defendants, also fraudulently misrepresented to BCBSGA during the statutorily

required open negotiations process that the disputes were eligible for IDR and

involved qualified IDR items and services meeting the NSA and regulatory

definitions of that term.

      167. BCBSGA reasonably and justifiably relied on Defendants’

misrepresentations during the open negotiations and IDR initiation process. As

part of the fraudulent scheme described herein, Defendants’ tactic to strategically


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flood the IDR process and overwhelm the system precluded BCBSGA from

investigating each and every aspect of the tens of thousands of disputes they

submitted, within the 30-day open negotiations window or within days after IDR

initiation. Additionally, in some cases (such as when the patient waived balance

billing protections), HaloMD and the Provider Defendants are the only entities in

possession of information critical to BCBSGA’s ability to assess a claim for IDR

eligibility, such as information pertaining to the provider, types of services

rendered, and patient records. As a result, BCBSGA justifiably relied on

HaloMD’s misrepresentation that the disputes were eligible for IDR and incurred

significant monetary losses through incurring fees required by the NSA and in

the form of IDR payment determinations finding against BCBSGA.

      168. As a direct result of these misrepresentations by Defendants,

BCBSGA has suffered substantial damages in the form of payment on IDR

payment determinations that were ineligible for resolution through the NSA’s

IDR process.

            COUNT 4 – NEGLIGENT MISREPRESENTATION

      169. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.

      170. In submitting the false attestations of eligibility, the Provider

Defendants, and HaloMD on behalf of the Provider Defendants, misrepresented

material facts to the IDRE and BCBSGA regarding eligibility of the disputes to

proceed to the IDR payment determination stage. From the patient’s insurance


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cards, BCBSGA’s EOPs, the plain text of federal laws and regulations, CMS

publications and resources, Defendants’ preparation of IDR initiation forms and

notices, their participation in the IDR process, and the specific objections to

eligibility that BCBSGA submitted to the Provider Defendants and to HaloMD,

among other sources, Defendants knew that the services and disputes they were

initiating were ineligible for the IDR process.

      171. Defendants owed a duty of reasonable care to BCBSGA, under

which they were required to conduct reasonable investigation, ensure the

eligibility of the services for which they were initiating the IDR process, and

guard against the submission of false attestations of eligibility leading IDREs to

erroneously issue payment determinations in favor of Defendants for items or

services that were not eligible for the IDR process.

      172. The Provider Defendants, and HaloMD on behalf of the Provider

Defendants, submitted these false attestations with the intent that the IDRE and

BCBSGA rely on them. Even if BCBSGA contested eligibility, Defendants’

deliberate misrepresentation to the IDRE, on which the IDRE relied, forced

BCBSGA to rely on the misrepresentation because, once the IDRE determines

the dispute is eligible, BCBSGA has no choice but to proceed with the process,

submit a final offer, and allow the dispute the continue to a payment

determination; any other approach would result in a default award against

BCBSGA in favor of HaloMD and the Provider Defendant it represented for




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whatever outrageous amount HaloMD included as the Provider Defendant’s final

offer.

         173. The Provider Defendants and/or HaloMD on behalf of the Provider

Defendants falsely represented during the statutorily required open negotiations

process that the disputes were eligible for IDR and involved qualified IDR items

and services meeting the NSA and regulatory definitions of that term.

         174. BCBSGA reasonably, foreseeably, and justifiably relied on

Defendants’ misrepresentations during the open negotiations and IDR initiation

process. As part of the fraudulent scheme described herein, Defendants’ tactic

was to flood the IDR process and overwhelm the system such that BCBSGA

would be unable to investigate each and every aspect of the tens of thousands of

disputes often submitted on the same day within the 30-day open negotiations

window or within days after IDR initiation. Additionally, HaloMD and the

Provider Defendants are in some circumstances the only entities in possession of

information critical to BCBSGA’s ability to assess a claim for IDR eligibility,

such as information pertaining to the provider, types of services rendered, and

patient records. As a result, BCBSGA justifiably relied on HaloMD’s

misrepresentation that the disputes were eligible for IDR and incurred significant

monetary losses through incurring fees required by the NSA and in the form of

IDR payment determinations finding against BCBSGA.

         175. As a result of Defendants’ misrepresentations, and BCBSGA’s

reasonable reliance on the same, BCBSGA, its plan sponsors, and BlueCard plans


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have suffered substantial damages in the form of payment on IDR payment

determinations that were ineligible for resolution through the NSA’s IDR process.

                      COUNT 5 – STATUTORY FRAUD

      176. BCBSGA incorporated by reference the allegations in Paragraphs 1

to 130.

      177. Fraud, accompanied by damage to the party defrauded, always gives

a right of action to the injured party. O.C.G.A. § 51-6-1.

      178. Georgia law provides such a right of action where there is a willful

misrepresentation of material fact, made to induce another to act, upon which

such person acts to his injury. O.C.G.A. § 51-6-2(a).

      179. As detailed above, the Provider Defendants, and HaloMD on behalf

of the Provider Defendants, willfully misrepresented to the Departments, the

IDREs, and BCBSGA that the ineligible disputes were eligible for IDR resolution

in the form of the false attestations of eligibility in the IDR initiation notices.

These facts were material because they go to the critical issue of eligibility for

the IDR process and the jurisdiction of the IDREs.

      180. From the patient’s insurance cards, BCBSGA’s EOPs, the plain text

of federal laws and regulations, CMS publications and resources, Defendants’

preparation of IDR initiation forms and notices, their participation in the IDR

process, and the specific objections to eligibility that BCBSGA submitted to the

Provider Defendants and to HaloMD, among other sources, Defendants knew that

the services and disputes they were initiating were ineligible for the IDR process.

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      181. As a result, BCBSGA was induced to act, and in fact did act, to its

detriment and incurred injury as a result. Specifically, BCBSGA relied on

Defendants’ misrepresentations, and it was statutorily compelled to participate in

IDR proceedings for ineligible services and disputes because the false attestations

induced the IDREs to find that the IDR process applied and erroneously issue

payment determinations in favor of HaloMD and the Provider Defendants.

      182. BCBSGA, its plan sponsors, and BlueCard plans suffered significant

monetary harm in the form of paying statutory fees associated with the ineligible

IDR disputes, in addition to its payments to Defendants relating to IDRE payment

determinations on the ineligible disputes.

                    COUNT 6 – THEFT BY DECEPTION

      183. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.

      184. The Provider Defendants, and HaloMD on behalf of the Provider

Defendants, submitted false attestations to the Departments, the IDREs, and

BCBSGA that constitute theft by deception. Under Georgia law, a party commits

the crime of theft by deception when it “obtains property by any deceitful means

or artful practice with the intention of depriving the owner of the property.”

O.C.G.A. § 16-8-3(a).

      185. A party’s conduct is deceitful for purposes of Section 16-8-3(a)

when the party “[c]reates or confirms another’s impression of an existing fact or

past event which is false and which the accused knows or believes to be false” or

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“[f]ails to correct a false impression of an existing fact or past event which he

previously created or confirmed.” O.C.G.A. § 16-8-3(b).

      186. While Section 16-8-3(a) is a criminal statute, “[a]ny owner of

personal property shall be authorized to bring a civil action to recover damages

from any person who … commits a theft as defined in Article 1 of Chapter 8 of

Title 16 involving the owner’s personal property.” O.C.G.A. § 51-10-6(a).

      187. Specific amounts of money paid to a party by wire or other means

are specific and identifiable funds and so constitute personal property for

purposes of Section 16-8-3(a).

      188. As set forth in more detail above, HaloMD and the Provider

Defendants acquired specific and identifiable funds from BCBSGA in the form

of payment of IDR payment determinations by means of false attestations

submitted to the Departments, IDREs, and BCBSGA.

      189. HaloMD and the Provider Defendants obtained these funds from

BCBSGA by creating the impression through its false attestations submitted to

the Departments, IDREs, and BCBSGA that the services and disputes at issue

were eligible for IDR when Defendants knew that these impressions were false.

      190. Defendants failed to correct these false impressions at any time after

initiating the IDR process or after obtaining IDR payment determinations in favor

of the Provider Defendants relating to claims that they knew were not eligible for

the IDR process.




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      191. As a result of Defendants’ deceit, BCBSGA was ordered to pay at

least $4,889,185.20 in ineligible IDR payment determinations.

      192. BCBSGA is entitled to recover the funds that it paid to Defendants

on ineligible IDR payment determinations, including any portion thereof retained

by HaloMD as compensation under its arrangements with the Provider

Defendants, for such awards pursuant to O.C.G.A. § 51-10-6(b)(1), as well as

IDR fees that it paid in relation to such determinations.

                       COUNT 7 – CIVIL CONSPIRACY

      193. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.

      194. HaloMD and the Provider Defendants conspired to implement the

scheme described herein, resulting in harm to BCBSGA.

      195. Specifically, each of the Provider Defendants retained HaloMD to

represent them in the ineligible IDR disputes.

      196. As detailed above, the Provider Defendants share the same address

(including suite number), employ the same individual as their CEO, CFO, and

Secretary. Defendants also have access to each other’s email domain addresses

and relevant claims, services, and documentation.

      197. Each co-conspirator played an integral role in carrying out the

scheme, including providing funding, directing billing practices, and facilitating

the submission of improper claims and IDR proceedings.




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      198. As a result of the orchestrated scheme between HaloMD and the

Provider Defendants to submit material misrepresentations to the IDREs and

BCBSGA regarding eligibility of the IDR disputes, BCBSGA, its plan sponsors,

and BlueCard plans have suffered substantial damages in the form of payment on

IDR payment determinations that were ineligible for resolution through the

NSA’s IDR process.

          COUNT 8 – VIOLATION OF GEORGIA DECEPTIVE TRADE
                    PRACTICES ACT (O.C.G.A. 10-1-372)

      199. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.

      200. Defendants’ conduct constitutes deceptive acts in violation of the

Georgia Deceptive Trade Practices Act, O.C.G.A. 10-1-372.

      201. BCBSGA and Defendants fit within the definition of “person” under

O.C.G.A. 10-1-371(5), meaning Defendants are subject to the statute’s

prohibitions on certain deceptive practices, and BCBSGA is empowered to bring

a claim relating to a violation of the Georgia Deceptive Trade Practices Act.

      202. By falsely representing to the Departments, the IDREs, and

BCBSGA that items or services were eligible for IDR resolution, the Provider

Defendants, and HaloMD on behalf of the Provider Defendants, represented that

the services in dispute were of a particular standard, quality, or grade (i.e., that

they were within the scope of the NSA and amendable to IDR) when, in fact, the

services were not (i.e., they were ineligible for IDR, despite Defendants’ false



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attestations to the contrary in its IDR initiation notices), in violation of O.C.G.A.

10-1-372(a)(7).

      203. By falsely representing to the IDREs and BCBSGA that items or

services were eligible for IDR resolution, Defendants also represented that the

services in dispute had sponsorship, approval, or characteristics (i.e., that they

were within the scope of the NSA and amendable to IDR) when, in fact, the

services did not (i.e., they were ineligible for IDR, despite Defendants’ false

attestation to the contrary in its IDR initiation notices), in violation of O.C.G.A.

10-1-372(a)(5).

      204. When Defendants falsely represent to the Departments, the IDREs,

and BCBSGA that items or services are eligible for IDR resolution when they are

in fact ineligible, Defendants also engage in conduct that creates a likelihood of

confusion or misunderstanding, on the part of the Departments, the IDRE, and

BCBSGA, in violation of O.C.G.A. 10-1-372(a)(12).

      205. Defendants’ acts have caused substantial economic harm to

BCBSGA, its employer plan sponsor customers, and other BlueCard plans.

      206. BCBSGA is entitled to an order enjoining these practices in violation

of the statute, in addition to its costs and attorneys’ fees in connection with

bringing this action.

          COUNT 9 – VACATUR OF NSA ARBITRATION AWARDS

      207. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.


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      208. HaloMD improperly obtained arbitration awards under the NSA by

misrepresenting the services were qualified IDR items or services, warranting

vacatur of such awards under 9 U.S.C. § 10(a) and 42 U.S.C. § 300gg-

111(c)(5)(E).

      209. The IDR payment determinations at issue were procured by undue

means and misrepresentation.

      210. For the IDR payment determinations at issue, the IDREs exceeded

their powers by issuing payment determinations on items and services that are not

qualified IDR items and services within the scope of the NSA’s IDR process.

      211. HaloMD and the Provider Defendants continue to obtain awards by

undue means and misrepresentation. Thus, the list of IDR payment

determinations subject to vacatur is expected to increase during the pendency of

the case.

            COUNT 10 – ERISA CLAIM FOR EQUITABLE RELIEF

      212. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.

      213. BCBSGA provides claims administration services for certain health

benefit plans governed by ERISA. Those health benefit plans and their employer

sponsors delegate to BCBSGA discretionary authority to recover overpayments,

including those resulting from fraud, waste, or abuse.

      214. ERISA authorizes a fiduciary of a health plan to bring a civil action

to “enjoin any act or practice which violates any provision of this subchapter or


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the terms of the plan” or “to obtain other appropriate equitable relief (i) to redress

such violations or (ii) to enforce any provisions of this subchapter or the terms of

the plan.” 29 U.S.C. § 1132(a)(3).

      215. Section 1185e of ERISA sets out the rights and obligations of plans

and medical providers with respect to the IDR process, including that the IDR

process does not apply in situations where there is a specified state law, where

the provider is a participating provider, and where the provider has not initiated

or engaged in open negotiations. 29 U.S.C. § 1185e.

      216. Through the acts described herein, Defendants have caused and

continue to cause the overpayment of funds on behalf of ERISA-governed benefit

plans through conduct that violates Section 1185e of ERISA.

      217. Defendants are continuing to engage in such improper conduct,

including but not limited to failing to properly initiate or engage in open

negotiations prior to initiating the IDR process, initiating IDR for beneficiaries of

government program exempt from NSA requirements, initiating IDR for services

subject to Georgia’s specified state law, initiating IDR with respect to claims that

BCBSGA denied and thus are exempt from the IDR process, and failure to

comply with other NSA requirements such as the IDR batching rules or the

cooling off period. This conduct causes ongoing harm to BCBSGA and the

ERISA-governed benefit plans.




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      218. There is an actual case and controversy between BCBSGA and

Defendants relating to the claims fraudulently submitted and arbitrated as part of

the NSA IDR process.

      219. BCBSGA seeks an order enjoining Defendants from:

           a. Initiating IDR without first properly initiating and engaging in open
              negotiations;

           b. Initiating IDR for beneficiaries of government program exempt from
              NSA requirements;

           c. Initiating IDR for services subject to Georgia’s specified state law;

           d. Initiating IDR for services that BCBSGA denied and thus are not
              eligible for IDR; and

           e. Initiating IDR for services when Defendants failed to comply with
              other NSA requirements such as the IDR batching rules and the
              cooling off period.

          COUNT 11 – DECLARATORY AND INJUNCTIVE RELIEF

      220. BCBSGA incorporates by reference the allegations in Paragraphs 1

to 130.

      221. BCBSGA seeks a declaration that Defendants’ conduct in

submitting false attestations and initiating IDR for unqualified IDR items or

services is unlawful. BCBSGA additionally seeks a declaration that IDR awards

for such unqualified IDR items or services are not binding. It further seeks an

injunction prohibiting Defendants from continuing to submit false attestations

and initiate IDR for items or services that are not qualified for IDR, or from

seeking to enforce non-binding awards entered on items and services not qualified

for IDR.


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      222. With respect to health plans and claims governed by ERISA, this

cause of action is alleged in the alternative to the previous cause of action, in the

event that the Court determines that relief under Section 1132(a)(3) of ERISA is

not available.

      223. There is no adequate remedy at law to prevent the ongoing harm

caused by Defendants’ conduct.

                            PRAYER FOR RELIEF

      WHEREFORE, BCBSGA respectfully requests that the Court:

          a. Vacate all improperly obtained NSA arbitration awards;

          b. Enter an injunction prohibiting Defendants from submitting
             unqualified IDR items and services to IDR and otherwise initiating
             improper arbitrations;

          c. Award compensatory, punitive, and exemplary damages;

          d. Order the return of funds wrongfully obtained by Defendants;

          e. Award costs, attorney’s fees, and interest;

          f. Declare that IDR awards issued on unqualified IDR items or services
             are non-binding and are not payable on a go-forward basis;

          g. Grant such other and further relief as the Court deems just and
             proper.

                                JURY DEMAND

      BCBSGA demands a trial by jury on all issues so triable.




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                                    Respectfully submitted,


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